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       Attorneys for Defendant
  13   LEE & EO INVESTORS, LLC
  14
                          UNITED STATES DISTRICT COURT
  15

  16                    CENTRAL DISTRICT OF CALIFORNIA

  17     JAMES RUTHERFORD, an                  Case No.: 8:20-cv-01615-JLS-DFM
  18     individual,
                                               Hon. Josephine L. Staton
  19     Plaintiff,
  20                                           JOINT NOTICE OF SETTLEMENT
         v.
  21                                           Complaint Filed: August 28, 2020
  22     LEE & EO INVESTORS, LLC, a            Trial Date: None Set
         California limited liability
  23     company; and DOES 1-10,
  24     inclusive,
  25     Defendants.
  26
  27

  28
              TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                  JOINT NOTICE OF SETTLEMENT
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   1         Plaintiff, JAMES RUTHERFORD, and Defendant, LEE & EO
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       INVESTORS, LLC (the “Parties”) have reached a settlement in this matter and
   3

   4
       expect to file a joint stipulation for dismissal of the action pending completion of

   5   certain terms of the confidential settlement agreement.
   6
       Dated: December 16, 2020               MANNING LAW, APC
   7

   8                                          By:    /s/ Joseph R. Manning, Jr. Esq.
   9                                                 Joseph R. Manning, Jr., Esq.
                                                     Attorneys for Plaintiff,
  10                                                 James Rutherford
  11
       Dated: December 16, 2020               LAW OFFICES OF LEWIS & LEWIS,
  12                                          APC
  13
                                              By:    /s/ John J. Lewis
  14                                                 John J. Lewis
  15                                                 Attorney for Defendant,
                                                     Lee & EO Investors LLC
  16

  17                             CERTIFICATE OF SERVICE

  18         I certify that on December 16, 2020, I electronically filed the foregoing

  19   document with the Clerk of the Court using CM/ECF. I also certify that the

  20   foregoing document is being served this day on counsel of record in this action via

  21   email transmission and via transmission of Electronic Filing generated by

  22   CM/ECF.

  23                                                 Respectfully submitted,

  24
       Dated: December 16, 2020                      MANNING LAW, APC
  25
                                              By:    /s/ Joseph R. Manning, Jr. Esq.
  26                                                 Joseph R. Manning, Jr., Esq.
  27                                                 Attorneys for Plaintiff
                                                     James Rutherford
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                                 JOINT NOTICE OF SETTLEMENT
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